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                                               State of New Jersey
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   Lt. Governor                                            PO Box 112                                                Director
                                                   TRENTON, NJ 08625-0112


                                                 March 21, 2024

       VIA ECF
       Hon. Sharon A. King, U.S.M.J.
       Mitchell H. Cohen Building
            & U.S. Courthouse
       4th & Cooper Streets, Room 5C
       Camden, NJ 08101

                  Re: Taron Hill v. State of New Jersey Department of
                      Treasury, et al.
                      Civ. No.: 22-cv-3558_________________

       Dear Judge King:

            The undersigned represents Non-Party, the Office of Public
       Integrity & Accountability (“OPIA”), in the above-referenced
       matter. As I was just assigned today to represent OPIA with respect
       to the Court's July 31, 2023 Order for Subpoena for Records [ECF
       No. 76] concerning the Conviction Review Unit's file pertaining
       to State v. Taron Hill, I am working diligently to familiarize
       myself with the matter and am coordinating with OPIA regarding the
       records at issue. At this time, I am in the process of speaking
       with my client and obtaining and reviewing the subject materials,
       and intend to provide OPIA’s response forthwith.

             Should Your Honor have any questions or concerns, please
       contact me. Thank you.

                                                          Respectfully submitted,

                                                          MATTHEW J. PLATKIN
                                                          ATTORNEY GENERAL OF NEW JERSEY

                                                 By: s/Kevin J. Dronson
                                                      Kevin J. Dronson (ID No. 17342012)


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                                    Deputy Attorney General.


 Cc: Counsel of record (via ECF)
